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Viola Trebicka, Esq.                                         SIMMONS HANLY CONROY
June 4, 2021                                                 DICELLO LEVITT GUTZLER LLC
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           29. All other fields contained in unfiltered or raw          Field Annotations.

        Please let us know your availability to discuss, or alternatively let us know if there are
existing documents that could provide descriptions of each of these identifiers. If Google is
unwilling to do so, Plaintiffs take the position that the deponent should be able to explain the
function of each of these        identifiers, including the “what, where, when, and how” such
identifiers are collected from class members’ browsers and stored and used by Google.

       Third, in conferring with your colleagues today, we learned that Google is already
prepping its corporate representative for the deposition. Please identify this representative so that
we may also adequately prepare.

       Thank you for your timely attention to this matter.

                                                      Sincerely,




                                                      Jay Barnes
 cc (via email):

 Google Counsel                                    Plaintiffs’ Counsel
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